Case 1:24-cv-00648-AA   Document 14-10   Filed 05/07/24   Page 1 of 2




                        EXHIBIT 09
Case 1:24-cv-00648-AA                                              Document 14-10                 Filed 05/07/24                   Page 2 of 2
                                                                                                                                  EXHIBIT09




                                                                                      09:09                                   95 ¾ 1   J,


    <                                    -, .,
                                                      Heidi Brown
        : • .,,   .-,-   -~   -·-   ••    _,,    , •• -.._   ~     ••   >   ><l--..

                                                                                                  \
                  ~               Appel ·vocal manque .; .
                              . . Appuyez pour rappeler . .
                                                                                          03:10       'r, ·

                  ~              Appel vocal manqu~     , .,; .. , ...
                               • Appuyez pour rappel er ! •• ;-'                                      ,,,,


                                                                                          03:12

                                    •." ,,:,,,. _,,     ~- -:. .                                              ,, __ ;   ,:
                                           · tieidi, I asked by email before the
                                             weekend to set up proper. times
                                             for me to speak with the girls .
                                             over the weekend on Facetime.
                                             directly without any supervision
                                            Jrom your part and at decent
                                             hours French time. •        09:06 ✓

                              ..
                             I'm sad to see that you ~ried , •.
                             again to call. me in the middle of
                             the night at 3.10am knqwing
                             obviously that I would be asleep
                       . : , and it shows your clear efforts at
                  ••. • i .trying to prevent any.
                     •• • cornmunication between me and
                                                 the. girl...                                                                os:og ✓




                                                 EXHIBIT 09 - PAGE 1 OF 1
